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 1   DOUGLAS A. GOSS, Bar # 143052
     LAW OFFICE OF DOUGLAS A. GOSS
 2   3439 Brookside Road, Suite 205
 3   Stockton, CA 95219
     Tel: (209) 373-4680
 4   Fax: (209) 475-4951

 5   Attorney for Defendant
     JIMMY KHIO
 6

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                        Case No. 1:18-cr-00219 DAD-BAM

12                       Plaintiff,                    STIPULATION AND ORDER THEREON

13           vs.
                                                       JUDGE: Hon. Dale A. Drozd
14    JIMMY KHIO,

15                       Defendant.

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18          Parties hereby agree to temporarily substitute an unsecured bond in the amount of

19   $100,000 in lieu of a property bond signed by Jimmy Khio and Ramina Ishac. When the

20   Recorder’s Office of Cook County, Illinois returns to business and it becomes possible to file a

21   property bond, Defendant agrees to secure a property bond consistent with the Orders and

22   Conditions provided in this case on April 10, 2020.

23

24   DATED: April 14, 2020                                       Law Office of Douglas A. Goss

25
                                                                 /s/ Douglas A. Goss             .
26                                                                DOUGLAS A. GOSS
                                                                 Attorney for Defendant
27
                                                                   JIMMY KHIO
28
                                                     -1-
                                STIPULATION AND PROPOSED ORDER THEREON
     Case 1:18-cr-00219-DAD-BAM Document 150 Filed 04/14/20 Page 2 of 2


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 3   DATED: April 14, 2020                                  McGREGOR W. SCOTT
                                                                United States Attorney
 4

 5                                                          By:   /s/Jeffrey A. Spivak___
                                                                  JEFFREY A. SPIVAK
 6                                                                Assistant United States Attorney
 7

 8                                                ORDER

 9

10           GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that defendant Jimmy

11   Khio’s be released upon posting an $100,000 unsecured bond signed for by Jimmy Khio and

12   Ramina Ishac until such time that a property bond can be substituted as set forth in the parties’

13   stipulation.

14   IT IS SO ORDERED.
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         Dated:     April 14, 2020
16                                                      UNITED STATES DISTRICT JUDGE

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                                STIPULATION AND PROPOSED ORDER THEREON
